Case: 23-103862 Document:577 Page:1 Date Filed: 07/17/2024

Supreme Court of the United States

No. 23-235

FOOD AND DRUG ADMINISTRATION, ET AL.,

Petitioners
Vv.
ALLIANCE FOR HIPPOCRATIC MEDICINE, ET AL.
and
No. 23-236
DANCO LABORATORIES, L.L.C.,
Petitioner

Vv.

ALLIANCE FOR HIPPOCRATIC MEDICINE, ET AL.

ON WRITS OF CERTIORARI to the United States Court of Appeals for the
Fifth Circuit.

THESE CAUSES came on to be heard on the transcript of the record from
the above court and were argued by counsel.

ON CONSIDERATION WHEREOF, it is ordered and adjudged by this
Court that the judgment of the above court is reversed, and the cases are remanded
to the United States Court of Appeals for the Fifth Circuit for further proceedings

consistent with the opinion of this Court.
Case: 23-103862 Document:577 Page:2 Date Filed: 07/17/2024

IT IS FURTHER ORDERED that the petitioners, Food and Drug
Administration, et al., and Danco Laboratories, L.L.C., recover from Alliance for
Hippocratic Medicine, et al., Six Thousand Eight Hundred Twelve Dollars and Fifty-two

Cents ($6,812.52) for costs herein expended.

June 18, 2024

Printing of joint appendix: $6,512.52
Clerk’s costs (in No. 23-236): $300.00
Total: $6,812.52

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